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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                             CASE NO. 1:08-cr-00004-MP-AK

WILLIE CHARLES CARTER, CLARENCE
MARSHALL, ANDRE THOMPSON,
DEARMUS LOVETT, NACOLA BROWN,
JUAN WASHINGTON, JAQUANA MCPHEE,
and KINZIE THOMAS

      Defendants.
___________________________/

                                            ORDER

       A telephone conference was held regarding the trials or sentencings of the above

individuals. The pending were a motion to continue trial, doc. 133, by Mr. Carter, and a motion

to continue sentencing, doc. 136, by Mr. Lovett. During the hearing, defendants Carter,

Marshall, Brown, Washington, McPhee, and Thomas consented to the continuation of their trial

and thus waived their speedy trial rights with regard to the period of the continuance. The trials

of defendants Carter, Marshall, Brown, Washington, McPhee, and Thomas are hereby reset for

the trial term beginning Tuesday, August 5, 2008. The sentencings of Mr. Thompson and Mr.

Lovett will be reset by separate notice.


       DONE AND ORDERED this 24th day of June, 2008


                                       s/Maurice M. Paul
                                  Maurice M. Paul, Senior District Judge
